     Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 1 of 22




            UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

AUSTIN BROWN,

     Plaintiff,

v.                                       Case No. 1:17cv305-MW/GRJ

LAWN ENFORCEMENT AGENCY, INC.,
and MICHAEL TROIANO,

      Defendants.
__________________________/

        ORDER ON CROSS-MOTIONS FOR SUMMARY JUDGMENT

     This Court has considered, without hearing, Plaintiff’s and Defendants’

cross-motions for summary judgment, ECF Nos. 25 & 26. Plaintiff’s motion is

GRANTED in part and DENIED in part. Defendants’ motion is GRANTED

in part and DENIED in part.

     This case is about the applicability of the Fair Labor Standards Act

(“FLSA”), the Florida Minimum Wage Act (“FMWA”), and Article 10, § 24, of

the Florida Constitution. Both parties move for summary judgment, asking

this Court to grant relief in their favor. Plaintiff moves for this Court to

determine that Defendant      Lawn    Enforcement Agency, Inc.,     (“Lawn

Enforcement Agency”) is an enterprise under the FLSA, that Lawn

Enforcement Agency must comply with the FLSA’s federal-minimum-wage


                                     1
     Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 2 of 22



provision, and that Defendants violated the FLSA when deducting money from

Plaintiff’s wages. ECF No. 25, at pg. 4. Plaintiff also seeks relief under the

FMWA and the Florida Constitution, asking this Court to determine that

Defendants violated both when they initially paid Plaintiff below the Florida

minimum wage. ECF No. 25, at pg. 22. Plaintiff ultimately asks this Court to

award damages under the FMWA and the Florida Constitution. Id.

     Based on the same set of undisputed facts, Defendants’ summary-

judgment motion asks this Court to determine that Lawn Enforcement Agency

is not an enterprise under the FLSA and that it does not have to follow the

FLSA’s minimum-wage provision. ECF No. 26, at pg. 9. Defendants also ask

this Court to determine that they were in compliance with the FLSA if this

Court does find that Lawn Enforcement Agency is an enterprise. ECF No. 26,

at pg. 11. Additionally, Defendants argue that Plaintiff was paid above the

Florida minimum wage and paid in a timely manner. ECF No. 26, at pg. 13.

                                       I

     While both parties disagree about the application of the facts of this case,

the material facts are undisputed. Austin Brown (“Plaintiff”) worked for Lawn

Enforcement Agency and Michael Troiano (collectively the “Defendants”) as a

lawn-maintenance technician from July 25, 2016, to January 4, 2017. ECF No.




                                       2
     Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 3 of 22



24-10, at ¶ 4. Michael Troiano is the president of Lawn Enforcement Agency

and is responsible for all aspects of the company. Id at ¶ 23.


      Lawn Enforcement Agency is a lawn-care business that specializes in

lawn maintenance, pest-control services, and construction. ECF No. 24-10, at

¶ 5. Defendants use both Ford and GM trucks to move lawn technicians and

lawn-care equipment to various job sites. ECF No. 24-12, at ¶¶ 1 & 2. These

trucks were used by two or more employees during the time Plaintiff worked

for Defendants. Id at ¶ 9. All trucks used by the Defendants were

manufactured outside of Florida. ECF No. 24-13 at ¶ 3.


      From December 28, 2016, to January 3, 2017, Plaintiff worked a total of

24.25 hours at a rate of $11 per hour. ECF No. 24-2. Plaintiff’s base pay for the

hours worked was $266.75. ECF No. 24-5. After 1.45% of Plaintiff’s check was

deducted for Medicare and another 6.2% for Social Security, Plaintiff was left

with $246.34. Id. Pursuant to Defendants’ Uniform Program Policy, another

$162.60 was deducted from Plaintiff’s pay to cover the cost of unreturned

uniforms. Id. This brought the total amount Plaintiff received on January 9,

2017, to $83.74. Id. Plaintiff returned his uniform the next day and was

credited $100. ECF No. 24-8. Plaintiff received this $100 payment on January

19, 2017. Id. The $100 payment was made directly to Plaintiff and no




                                       3
     Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 4 of 22



additional taxes were levied. Id. This brought the total amount Plaintiff was

paid from December 28, 2016, to January 3, 2017, to $183.74.


      Plaintiff moves for summary judgment, bringing claims under the FLSA,

the FMWA, and Article 10, § 24, of the Florida Constitution. ECF No. 25.

Defendants also move for summary judgment, arguing that Lawn Enforcement

Agency is not subject to the FLSA because it is not covered under the act. ECF

No. 26. Furthermore, Defendants argue that they complied with the FLSA, the

FMWA, and the Florida Constitution, stating that they also acted in good faith

if this Court were to find any violations. ECF No. 24-8.


                                       II

      Summary judgment is proper when the movant demonstrates “that there

is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed R. Civ. P. 56(a). A genuine issue of material

fact exists “if the nonmoving party has produced evidence such that a

reasonable factfinder could return a verdict in its favor.” Waddell v. Valley

Forge Dental Assocs., Inc., 276 F.3d 1275, 1279 (11th Cir. 2001). Only facts that

“might affect the outcome of the suit under the governing law” are considered

material. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Failure by

either party to prove an essential element to that party’s case, one that they

bear the burden of proving at trial, entitles the other party to summary


                                       4
     Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 5 of 22



judgment. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The standards

governing cross-motions for summary judgment are the same, although the

court must construe the motions independently, viewing the evidence

presented by each moving party in the light most favorable to the non-movant.

Lozman v. City of Riviera Beach, 39 F. Supp. 3d 1392, 1404 (S.D. Fla. 2014).

                                     III

      Plaintiff asks this Court to determine that Lawn Enforcement Agency is

an enterprise under the FLSA and that Defendants violated the FLSA when

deducting money from Plaintiff’s wages. ECF No. 25, at pg. 4. Defendants ask

this Court to determine that Lawn Enforcement Agency is not an enterprise

and that, even if it is, Defendants were in compliance with the FLSA. ECF No.

26, at pp. 9 & 11. Additionally, Defendants argue that if they did violate the

FLSA they did so in good faith. ECF No. 26 at pg. 12.

      A. Lawn Enforcement Agency is an enterprise under the FLSA.

      Since both parties move for summary judgment, this Court must look at

each motion independently to determine if either party is entitled to judgment

as a matter of law. Lozman, 39 F. Supp. 3d at 1404. After looking at the facts

in the light most favorable to the nonmoving party for each motion, this Court

has determined that Lawn Enforcement Agency is an enterprise under the

FLSA.



                                      5
     Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 6 of 22



      Any business or company classified as an enterprise under the FLSA

must follow all applicable provisions of the Act. A business is considered an

enterprise when it has two or more employees “handling, selling, or otherwise

working on goods or materials that have been moved in or produced for

commerce” and if that business has an “annual gross volume of sales made or

business done [that] is not less than $500,000.” 29 U.S.C. § 203(s)(a)(A);

Polycarpe v. E&S Landscaping Serv., Inc., 616 F.3d 1217, 1221 (11th Cir. 2010)

(emphasis added).

      While the FLSA provides a definition of what is considered a “good,” the

act itself is silent on what is considered a “material.” In Polycarpe, the Eleventh

Circuit interpreted “materials” in the FLSA to mean “tools or other articles

necessary for doing or making something.” 616 F.3d at 1244. The court

established a two-part test, herein referred to as the “Polycarpe Test,” to

determine if a particular item is a material under the FLSA. Id at 1266. The

first part of the Polycarpe Test requires this Court to determine if the item in

question is a material based on the “word’s ordinary meaning within the

FLSA;” that is, if the item is a “tool or other article necessary for doing or

making something.” Id at 1244, 1266. The second part requires this Court to

determine if the item has “a significant connection with the employer’s




                                        6
     Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 7 of 22



economic activity; the business may not just somehow internally and

incidentally consume the item.” Id.

      It is an undisputed fact that Lawn Enforcement Agency had an annual

gross volume of sales that exceeded $500,000 while Plaintiff was an employee.

ECF No. 24-13, at ¶ 14. It is also undisputed that the trucks belonging to Lawn

Enforcement Agency were manufactured outside of Florida and were handled

by two or more employees. ECF No. 24-13, at ¶ 3 & 9. Based on these facts,

Plaintiff argues that the trucks used by Lawn Enforcement Agency are

materials moved in commerce. Plaintiff further argues that the use of the

trucks, combined with the fact that Lawn Enforcement Agency’s gross annual

revenue exceeds $500,000, requires this Court to determine that Lawn

Enforcement Agency is an enterprise under the FLSA. ECF No. 25, at pg. 4.

      Under the same set of undisputed facts, Defendants ask this Court to

reach the opposite conclusion; that Lawn Enforcement Agency is not an

enterprise. ECF No. 26, at pg. 8. Defendants argue that the trucks used by

Lawn Enforcement Agency are goods, which the business is the ultimate

consumer of. ECF No. 26-12 at 9. Defendants derive their argument from the

FLSA’s definition of goods found in 29 U.S.C. § 203(i), which defines ships as

goods within the meaning of the Act. ECF No. 26-12, at 9 & 10. Since ships and

trucks are both vehicles, Defendants argue that Lawn Enforcement Agency’s



                                      7
     Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 8 of 22



trucks should also be classified as goods. ECF No. 26-12 at 10. And since Lawn

Enforcement Agency is the ultimate consumers of the trucks, Defendants

argue that Lawn Enforcement Agency is not an enterprise under the FLSA. Id.

      After looking at the facts in the light most favorable to the nonmoving

party, this Court has determined that Lawn Enforcement Agency is an

enterprise under the FLSA. The trucks are materials because they satisfy the

Polycarpe Test; the trucks (1) are articles that are necessary to provide lawn-

care services and (2) have a significant connection with Defendants’ business.

The trucks are necessary because Defendants need them to transport both

personnel and lawn-care equipment to job sites. The trucks also have a

significant connection with Defendants’ business because they are needed for

transportation and their use is not incidental. See Polycarpe v. E & S

Landscaping Serv., Inc., 821 F. Supp. 2d 1302, 1307 (S.D. Fla. 2011) (finding,

on remand, that the trucks used by a landscaping business are materials under

the FLSA because the trucks are necessary to transport equipment and people

to job sites and because the trucks have a significant connection with the

business). Furthermore, the trucks are materials that have been moved in

commerce, since the trucks were manufactured outside of Florida and were

handled by at least two employees.




                                      8
     Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 9 of 22



      Based on both the undisputed facts and this Court’s determination that

Lawn Enforcement Agency’s trucks are handled materials that have been

moved in commerce, Lawn Enforcement Agency is an enterprise under the

FLSA. Plaintiff’s summary-judgment motion is granted with respect to

enterprise coverage under the FLSA. Defendants’ summary-judgment motion

is denied with respect to enterprise coverage.

      B. Defendants violated the FLSA when they deducted money
         from Plaintiff’s pay to cover the cost of work uniforms.

      Again, both parties ask this Court to reach a different conclusion based

on the same set of undisputed facts. Plaintiff argues that Defendants violated

the FLSA when they deducted money from Plaintiff’s wages to cover the cost

of the work uniforms. Defendants ultimately argue that the deduction was

lawful and that Lawn Enforcement Agency was in compliance with the FLSA.

After looking at the undisputed facts in the light most favorable to the

nonmoving party, this Court has determined that Defendants violated the

FLSA. When Defendants deducted money from Plaintiff’s pay to cover the cost

of work uniforms, Defendants violated the FLSA because Plaintiff was paid

below the federal minimum wage.

      Under the FLSA, payment for work done must be paid in a timely

manner and is due on “regularly scheduled pay days.” Martin v. United States,

117 Fed. Cl. 611, 614 (Fed. Cl. 2014). When an employer fails to pay an


                                       9
     Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 10 of 22



employee minimum wage on the regular payment date, the employer is in

violation of the FLSA and liquidated damages are available to the employee.

Atlantic Co. v. Broughton, 146 F.2d 480, 482 (5th Cir. 1945). 1 Furthermore,

employers must pay employees weekly wages free of “improper deductions

[and] at a rate no lower than the minimum wage rate.” Arriaga v. Fla. Pac.

Farms L.L.C., 305 F.3d 1228, 1235 (11th Cir. 2002) (citing 29 U.S.C.

§ 206(a)(1)). Employers violate the FLSA when they force employees to

purchase items “specifically required for the performance of the employer’s

particular work . . . when the cost of such [items] purchased by the employee[s]

cuts into the minimum wages required to be paid to [employees] under the

[FLSA].” 29 C.F.R. § 531.35. The cost of items, such as uniforms, that are for

the “benefit or convenience of the employer will not be recognized as reasonable

and may not therefore be included in computing wages.” 29 C.F.R. § 531.32.

       It is undisputed that Defendants deducted $163.60 from Plaintiff’s

wages, bringing the total amount Plaintiff received on his regularly scheduled

pay day to $83.74. It is also undisputed that the $83.74 Plaintiff received is

below the minimum wage for the hours he worked. Both parties also agree that

Plaintiff was eventually compensated $100 after returning his uniform,



1 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh
Circuit adopted as binding precedent all decisions of the former Fifth Circuit handed down prior
to the close of business on September 30, 1981.

                                              10
    Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 11 of 22



bringing his total compensation to $183.74, which is above the federal

minimum wage. Based on these facts, Plaintiff argues that the money that was

withheld from his wages was an improper deduction that resulted in him being

compensated below the federal minimum wage on his regularly scheduled pay

day. Furthermore, Plaintiff argues that the $100 payment that was paid on a

later date doesn’t mean that Defendants acted in accordance with the FLSA,

since wages are due on an employee’s regularly scheduled pay dates.

      Defendants ask this Court to determine that they acted in accordance

with the FLSA. Despite their failure to pay Plaintiff the federal minimum wage

on his regularly scheduled payday, Defendants believe that Plaintiff was still

paid in a timely manner. Defendants argue that since Plaintiff ended up being

compensated above the federal minimum wage, though at a later date,

Defendants were in compliance with the FLSA.

      Based on the undisputed facts, no reasonable jury could conclude that

Defendants were in compliance with the FLSA when they deducted money

from Plaintiff’s wages. Under the FLSA, a business must pay its employees the

federal minimum wage on their regularly scheduled pay date. Martin, 117 Fed.

Cl. at 614. By deducting money from Plaintiff’s pay to cover the cost of

uniforms, Defendants violated the FLSA because Plaintiff was paid below the

federal minimum wage. Although Defendants eventually paid Plaintiff $100,



                                     11
    Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 12 of 22



bringing the total amount he was paid above the federal minimum wage,

Defendants still violated the FLSA because payment is due on regularly

scheduled pay days. Because the uniform-rental fee charged to Plaintiff was

an improper deduction that brought his compensation below the federal

minimum wage, Defendants violated the FLSA. Plaintiff’s summary-judgment

motion is granted with respect to Defendants’ alleged violation of the FLSA.

Defendants’ summary-judgment motion is denied with respect to the alleged

FLSA violation.

      C. Defendants failed to show that their FLSA violation was in
         good faith.

      Plaintiff has demonstrated that Defendants violated the FLSA when

money was deducted from Plaintiff’s pay to cover the cost of the work uniforms.

In their summary-judgment motion, Defendants ask this Court to determine

that any violation of the FLSA they might have made was made in good faith.

Based on the undisputed facts, Defendants failed to provide this Court with

information that would allow a reasonable jury to conclude that Defendants’

FLSA violation was made in good faith and that Defendants had reasonable

grounds for believing they were in conformity with the FLSA.

      Under the Portal-to-Portal Act, this Court may refrain from awarding

liquidated damages for a FLSA violation if the employer can show that they

violated the FLSA “in good faith and that [the employer] had reasonable


                                      12
    Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 13 of 22



grounds for believing that [their] act or omission was not a violation of the Fair

Labor Standards Act.” 29 U.S.C. § 260. The determination of whether an

employer acted in good faith and had reasonable grounds for believing they

were not in violation of the FLSA has both a subjective and objective

component. Friedman v. S. Fla. Psychiatric Assocs., Inc., 139 F. App’x 183, 185

(11th Cir. 2005). Subjective good faith means that “the employer ha[d] an

honest intention to ascertain what the FLSA requires and to act in accordance

with it” Id. at 185. Objective good faith means that “the employer had

reasonable grounds for believing its conduct comported with the FLSA.” Id. at

185–86. Good faith requires some duty to investigate potential liability under

the FLSA. Id (citations omitted).

      Defendants have produced no evidence that would allow a reasonable

jury to determine that Defendants violated the FLSA in good faith. Aside from

conclusory statements in which Defendants simply claim that they made a

good-faith FLSA violation, Defendants argue that Plaintiff agreeing to Lawn

Enforcement Agency’s “Uniform Program Policy” is proof of good faith, since

Plaintiff “agreed that money could be taken from his wages if his uniforms

were not returned upon completion of his employment” ECF No. 26, at ¶ 4.

However, a signed document from Plaintiff authorizing a deduction in his pay

does not show that Defendants “ha[d] an honest intention to ascertain what



                                       13
    Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 14 of 22



the FLSA requires and to act in accordance with it,” nor does it show that

Defendants “had reasonable grounds for believing [their] conduct comported

with the FLSA.” Id at 185–86.

      Plaintiff successfully demonstrated that Defendants violated the FLSA.

Defendants have failed to provide this Court with evidence that their violation

was made in good faith. Since Defendants failed to meet their burden of proof,

this Court denies Defendants’ motion for summary judgment with respect to

their violation being in good faith. Since Defendants’ FLSA violation was not

in good faith, liquidated damages under the FLSA are available to Plaintiff.

                                      IV

      Plaintiff is not able to bring forward a claim under the FMWA or

Florida’s Constitution because Defendants compensated Plaintiff above the

Florida minimum wage before Defendants received Plaintiff’s notice of the pay

discrepancy.

      A. Plaintiff cannot bring a claim under the FMWA since
         Defendants remedied the pay discrepancy within the grace
         period.

      Under the same set of facts regarding when and how much Plaintiff was

paid, Plaintiff moves for this Court to determine that he is entitled to relief

under the FMWA. Defendants ask this Court to reach the opposite conclusion,

arguing that Plaintiff was paid above the Florida minimum wage in a timely



                                      14
    Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 15 of 22



manner. After looking at the facts in the light most favorable to the nonmoving

party, this Court has determined that Defendants did not violate the FMWA.

      While the FMWA mirrors the FLSA’s minimum-wage provision, the

FMWA differs in that a grace period is provided to employers which allows

them to remedy any pay discrepancy. Before bringing a claim for “unpaid

minimum wages [under the FMWA], the person shall notify the employer

alleged to have violated this section, in writing, of an intent to initiate [civil

action].” § 448.110(6)(a), Fla. Stat. The Act provides an employer with the

opportunity to pay the total amount of unpaid minimum wages within fifteen

days of receiving notice. § 448.110(6)(b), Fla. Stat. A claim can only be brought

against an employer if the employer fails to pay the unpaid wages or resolve

the pay discrepancy to the satisfaction of the employee within the fifteen-day

grace period. § 448.110(6)(b), Fla. Stat. Employees are not entitled to

liquidated damages if the employer remedies the pay discrepancy prior to the

end of the fifteen-day notice period because liquidated damages are only

available “upon prevailing in an action brought pursuant to [the FMWA]” and

an action cannot be commenced if the pay discrepancy is resolved within the

grace period. § 448.110(6)(c), Fla. Stat.

      The material facts are uncontested by either party. There is no dispute

regarding when and how much Plaintiff was paid for the 24.25 hours he



                                        15
    Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 16 of 22



worked. Both parties agree that Plaintiff was paid $83.74 on January 9, 2017,

and then an additional $100 on January 19, 2017. Both parties agree that this

brings Plaintiff’s total compensation for the hours he worked to $183.74. What

Plaintiff and Defendants disagree on is whether that additional $100 payment

was enough to compensate Plaintiff at Florida’s minimum wage.

      Plaintiff argues that the additional payment made to him was not

enough to compensate him under the FMWA. Plaintiff believes he is owed

$195.21 in base pay for the 24.25 hours worked and that the $183.74 he

received falls short of that. ECF No. 25 at 18. To come to the $195.21 amount,

Plaintiff simply takes the 24.25 hours worked and multiplies them by Florida’s

minimum wage during the time Plaintiff worked for Defendants, which was

$8.05 an hour.

      Defendants argue that the $183.74 Plaintiff received met the minimum-

wage requirements of the FMWA. Defendants claim that Plaintiff cannot sue

for not being paid $195.21 because he never would have received that much in

the first place. Defendants argue that after a mandatory 1.45% is deducted

from Plaintiff’s pay for Medicare and another 6.2% is deducted for Social

Security, Plaintiff would only receive $180.28 if he was paid exactly $8.05 for

each of the 24.25 hours he worked. Furthermore, the $100 that was

compensated to Plaintiff at a later date was only taxed once on January 9,



                                      16
        Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 17 of 22



2017, meaning that Plaintiff was compensated a total of $183.74 for the hours

he worked. ECF No. 24-8 at 9 (showing that no additional Medicare or Social

Security taxes were levied against the $100 payment).

          Based on the undisputed facts, this Court finds that no reasonable jury

could determine that Defendants violated the FMWA. Plaintiff cannot claim

that he is owed a total of $195.21 if he never would have received that amount

in the first place. There are mandatory Medicare and Social Security taxes that

must be deducted from Plaintiff’s pay. As stated previously, 1.45% is deducted

for Medicare and 6.2% is deducted for Social Security. Therefore, that $2.83

and $12.10 respectively must be deducted from Plaintiff’s pay check, totaling

to a $14.93 reduction. 2 If Plaintiff was properly paid Florida’s minimum wage

for the hours he worked, Plaintiff would ultimately be receiving $180.28 after

taxes. 3 Plaintiff ended up receiving $183.74 in total compensation for the hours

he worked. Therefore, no reasonable jury could determine that Plaintiff was

compensated below Florida’s minimum wage for the hours he worked.

          Furthermore, Defendants remedied the pay discrepancy before the end

of the allotted fifteen-day grace period under the FMWA. Neither party




2   Medicare Deduction = $195.21 x 1.45% = $2.83
    Social Security Deduction = $195.21 x 6.2% = $12.10
    Total Deduction = $2.83 + $12.10 = $14.93

3   $195.21 – $14.93 = $180.28

                                                17
    Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 18 of 22



contests that Plaintiff gave Defendants notice of the pay discrepancy, pursuant

to the FMWA, in a letter sent to Defendants in November of 2017. ECF No. 25

at 16. The fifteen-day grace period to resolve the pay discrepancy would have

begun the day that Defendants received the letter. § 448.110(6)(b), Fla. Stat.

As stated above, Defendants resolved the pay discrepancy on January 19, 2017,

by paying Plaintiff $100, bringing the total amount he was paid slightly above

Florida’s minimum wage. Since Defendants resolved the alleged violation

before notice was given, Plaintiff is not able to bring a claim under the FMWA.

Since Plaintiff cannot bring a claim he cannot possibly “[prevail] in an action

brought pursuant to [the FMWA]” and is not entitled to liquidated damages as

well. § 448.110(c)(1), Fla. Stat.

      Based on the undisputed facts, no reasonable jury could determine that

Defendants failed to comply with the FMWA. Plaintiff’s motion for summary

judgment regarding the FMWA claim is denied. Defendants’ summary

judgment-motion regarding the FMWA is granted in part.

      B. Plaintiff cannot bring a claim under Article 10, § 24, of the
         Florida Constitution since Defendants remedied the pay
         discrepancy before receiving notice of the alleged violation.

      Plaintiff argues that a claim can be brought directly under the Florida

Constitution, even if a claim cannot be brought under the FMWA. Based on

both the law and the undisputed facts, Plaintiff is not able to bring a claim



                                      18
    Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 19 of 22



under Article 10, § 24, of the Florida Constitution. Defendants remedied the

pay discrepancy pursuant to the notice requirement of the FMWA, which is the

implementing legislation and “exclusive remedy” for Article 10, § 24 claims.

§ 448.110(c)(1), Fla. Stat.

      There is a split among courts regarding how claims may be brought

pursuant to Article 10, § 24, of the Florida Constitution. On one hand, Article

10, § 24, does not require implementing legislation in order to be enforced,

creating an independent cause of action. Art. X, § 24(f), Fla. Const. But on the

other hand, Article 10, § 24, authorizes the state legislature to “by statute . . .

adopt any measures appropriate for the implementation of [Article 10, § 24].

Art. X, § 24(f), Fla. Const. The FMWA purports to do just that, with the stated

purpose of the Act being to “provide measures appropriate for the

implementation of s. 24, Art. X of the State Constitution, in accordance with

authority granted to the Legislature pursuant to s. 24(f), Art. X of the State

Constitution.” § 448.110(2), Fla. Stat. The FMWA creates additional

requirements employees must meet in order to bring a claim for unpaid wages:

the notice requirement and the fifteen-day grace period allotted to employers.

§ 448.110(6)(a), Fla. Stat.

      Some courts have held that employees do not need to follow the

additional notice requirements laid out in the FMWA to bring a claim under



                                        19
    Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 20 of 22



Florida’s Constitution. See Throw v. Republic Enter. Sys., Inc., No. 8:06-CV-

724-T-30, 2006 WL 1823783, at *2 (M.D. Fla. June 30, 2006) (finding that

“[s]ection 24 [of Article 10 of the Florida Constitution] creates a constitutional

right directly enforceable . . . with no requirement that notice be given”). Courts

construing Article 10, § 24, this way have found that § 24 is “self-executing and

establishes a private cause of action” independent of the FMWA. Bates v.

Smuggler’s Enters., Inc., No. 210-CV-136-FTM-29DNF, 2010 WL 3293347, at

*3 (M.D. Fla. Aug. 19, 2010).

      Other courts have held that plaintiffs must follow the notice provisions

outlined in the FMWA when bringing a claim under Article 10, § 24, of the

Florida Constitution. Courts on this side of the split have also acknowledged

that Article 10, § 24, is a self-executing constitutional cause of action, but note

that the Florida Legislature “may provide additional law[s] addressing a self-

executing constitutional scheme assuming such laws supplement, protect, or

further the availability of the constitutionally conferred right, but the

Legislature may not modify the right in such a fashion that it alters or

frustrates the intent of the framers or the people.” Garcia-Celestino v. Ruiz

Harveseting, Inc., No. 2:10-CV-542-FtM-38DNF, 2013 WL 3816730, at *16

(M.D. Fla. July 22, 2013) (quoting Browning v. Fla. Hometown Democracy, Inc.,

PAC, 29 So. 3d 1053, 1064 (Fla. 2010)). These courts have determined that the



                                        20
    Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 21 of 22



FMWA does not “frustrate the intent of [Article 10, § 24]” and that the Act

“regulat[es] the method of the Amendment’s enforcement as it is expressly

authorized to do by the constitutional provision.” Id.

      This Court respectfully disagrees with the decision made in Throw and

adopts the conclusion reached by Garcia-Celestino. Similarly, this Court finds

that the FMWA does not frustrate the intent behind Article 10, § 24, and that

the Act simply regulates the enforcement of the Amendment, as authorized.

Because the undisputed facts show that Defendants remedied the pay

discrepancy before notice of an alleged minimum-wage violation was filed,

Plaintiff may not bring a claim under the Florida Constitution. Plaintiff’s

summary-judgment motion regarding his claim under the Florida Constitution

is denied.

      Accordingly,

      IT IS ORDERED:

      1. Plaintiff’s Motion for Summary Judgment, ECF No. 25, is GRANTED

         in part and DENIED in part. Specifically, Plaintiff’s motion is

         GRANTED with respect to Lawn Enforcement Agency being

         considered an enterprise under the FLSA and with respect to

         Defendants’ alleged violation of the FLSA. Plaintiff’s motion is




                                       21
Case 1:17-cv-00305-MW-GRJ Document 35 Filed 07/23/18 Page 22 of 22



    DENIED with respect to Plaintiff’s FMWA claim and with respect to

    Plaintiff’s claim under the Florida Constitution.

 2. Defendants’ Motion for Summary Judgment, ECF. No. 26, is

    GRANTED in part and DENIED in part. Specifically, Defendants’

    motion is GRANTED with respect to the applicability of the FMWA.

    Defendants’ motion is DENIED with respect to Lawn Enforcement

    Agency’s classification as an enterprise, Defendants’ FLSA violation,

    and Defendants’ argument that they acted in good faith.

 3. This Court does not direct partial entry of judgment pursuant to

    Federal Rule of Civil Procedure 54(b).

 4. The parties are directed to file supplemental briefs on the issue of

    damages as to the FLSA claim in light of this order. Plaintiff must file

    his brief no later than August 3, 2018. Defendant must file its

    response no later than August 17, 2018.

 SO ORDERED on July 23, 2018.
                         s/Mark E. Walker
                         United States District Judge




                                  22
